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                                                                         ELECTRONICALLY FILED
                                                                         DOC #:
UNITED STATES DISTRICT COURT                                             DATE FILED: 11/02/2020
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
MAIE IBRAHIM,                                                  :
                                             Plaintiff,        :
                                                               : 19-CV-3821 (VEC)
                           -against-                           :
                                                               :     ORDER
                                                               :
FIDELITY BROKERAGE SERVICES LLC,                               :
                                                               :
                                             Defendant.        :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS the parties are scheduled to appear for a status conference on Friday,

November 6, 2020, at 10:00 A.M.;

       IT IS HEREBY ORDERED that all parties and any interested members of the public

must attend by dialing 1-888-363-4749, using the access code 3121171, and the security code

3821. All attendees are advised to mute their phones when not speaking and to self-identify each

time they speak.



SO ORDERED.
                                                        ________________________
Date: November 2, 2020                                     VALERIE CAPRONI
      New York, New York                                 United States District Judge




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